Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 1 of 17 PageID #: 2131



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

    CHRIMAR SYSTEMS, INC. d/b/a                       §
    CMS TECHNOLOGIES AND                              §
    CHRIMAR HOLDING COMPANY,                          §
    LLC,                                              §
                                                      §
    vs.                                               §        Civil No. 6:13-cv-880-JDL
                                                      §
    ALCATEL-LUCENT, INC. et al.,                      §
                                                      §
                                                      §
    CHRIMAR SYSTEMS, INC. d/b/a
                                                      §
    CMS TECHNOLOGIES AND
                                                      §
    CHRIMAR HOLDING COMPANY,
                                                      §
    LLC,
                                                      §
                                                      §        Civil No. 6:13-cv-881-JDL
    vs.
                                                      §
    AMX, LLC,                                         §
                                                      §
    CHRIMAR SYSTEMS, INC. d/b/a                       §
    CMS TECHNOLOGIES AND                              §
    CHRIMAR HOLDING COMPANY,                          §
    LLC,                                              §
                                                      §
    vs.                                               §       Civil No. 6:13-cv-883-JDL
                                                      §
    SAMSUNG ELECTRONICS CO., LTD.,                    §
    et al.                                            §

                            MEMORANDUM OPINION AND ORDER

          This claim construction opinion construes the disputed claim terms in U.S. Patent No.

    8,115,012 (“the ‘012 Patent”). Plaintiffs ChriMar Systems, Inc. d/b/a CMS Technologies and

    Chrimar Holding Company LLC allege that Defendants 1 infringe the ‘012 Patent. Plaintiffs



1
 Defendants include Alcatel-Lucent USA, Inc., Alcatel-Lucent Holdings, Inc., AMX LLC, Samsung
Telecommunications America, LLC, and Samsung Electronics Co., Ltd. Defendants Aastra Technologies, Ltd.,
Aastra USA Inc, and Grandstream Networks, Inc. have since settled. Chrimar Systems, Inc. v. Aastra Technologies
Limited, No. 6:13-cv-879, Doc. No. 70; Chrimar Systems, Inc. v. Grandstream Networks, Inc., No. 6:13-cv-882,
Doc. No. 92.

                                                      1
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 2 of 17 PageID #: 2132



    presented their claim construction position (Doc. No. 83) (“PLS.’ BR.”). 2 Defendants filed a

    Response (Doc. No. 88) (“RESP.”) and Plaintiff filed a Reply (Doc. No. 91) (“REPLY”). The

    parties additionally submitted a Joint Claim Construction Chart pursuant to P.R. 4-5(d). Doc.

    No. 93.      On October 30, 2014, the Court held a claim construction hearing.              Upon

    consideration of the parties’ arguments and for the reasons stated herein, the Court adopts the

    constructions set forth below.

                                       OVERVIEW OF THE PATENTS

           Plaintiff alleges Defendants infringe independent claims 31 and 67 and dependent claims

35, 42, 43, 49, 50, 55, 66, 72, 73, 77, 88, 89, and 106 (“the asserted claims”) of the ‘012 Patent.

PL.’S BR. at 1. The ‘012 Patent is titled “System and Method for Adapting a Piece of Terminal

Equipment,” and relates to tracking of devices that are connected to a wired network. ‘012

Patent. More specifically, the ’012 Patent describes permanently identifying an “asset,” such as

a computer, “by attaching an external or internal device to the asset and communicating with that

device using existing network wiring or cabling.” ‘012 Patent at 1:67–2:2. The ’012 Patent

refers to that device as the “remote module.” Id. at 3:22–26. The asset can then be managed,

tracked, or identified by using the remote module to communicate a unique identification

number, port ID, or wall jack location to the network monitoring equipment, or “central

module.” Id. at 6:7–13 and 8:66–9:4. The ’012 Patent further discloses that “asset identification”

may be done in a way “that does not use existing network bandwidth.” Id. at 3:10–12. These

concepts are reflected in the patents’ asserted claims, including independent claims 31 and 67 as

set forth below:

           31. An adapted piece of Ethernet data terminal equipment comprising:
                  an Ethernet connector comprising a plurality of contacts;
                         and
2
    All citations herein will be to the Docket in No. 6:13-cv-880 unless otherwise indicated.

                                                             2
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 3 of 17 PageID #: 2133



               at least one path coupled across selected contacts, the selected contacts
                        comprising at least one of the plurality of contacts of the Ethernet
                        connector and at least another one of the plurality of contacts of the
                        Ethernet connector,
               wherein distinguishing information about the piece of Ethernet data
                        terminal equipment is associated to impedance within the at least
                        one path.

       67. A method for adapting a piece of terminal equipment, the piece of terminal
       equipment having an Ethernet connector, the method comprising:
              coupling at least one path across specific contacts of the Ethernet
                     connector, the at least one path permits use of the specific contacts
                     for Ethernet communication, the Ethernet connector comprising
                     the contact 1 through the contact 8, the specific contacts of the
                     Ethernet connector comprising at least one of the contacts of the
                     Ethernet connector and at least another one of the contacts of the
                     Ethernet connector; and
              arranging impedance within the at least one path to distinguish the piece of
                     terminal equipment.
’012 Patent, claims 31 and 67.

       There are six disputed terms or phrases in the asserted claims. One term has been

construed by the Court following early claim construction briefing and oral argument on

September 3, 2014. Doc. No. 92 (“EARLY CLAIM CONSTRUCTION OPINION”). In its Order, the

Court denied Defendants’ summary judgment motion and construed the “distinguishing” term as

follows:
                     Term                                              Construction
“distinguishing information about the piece of       “information to distinguish the piece of
Ethernet terminal equipment” (Claim 31)              Ethernet data terminal equipment from at least
                                                     one other piece of Ethernet data terminal
                                                     equipment”
“to distinguish the piece of terminal                “to distinguish the piece of terminal equipment
equipment” (Claim 67)                                having an Ethernet connector from at least one
                                                     other piece of terminal equipment having an
                                                     Ethernet connector”

EARLY CLAIM CONSTRUCTION OPINION at 15. Trial is scheduled for September 8, 2015.




                                                 3
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 4 of 17 PageID #: 2134




                           CLAIM CONSTRUCTION PRINCIPLES

       “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention

to which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303,

1312 (Fed. Cir. 2005) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381

F.3d 1111, 1115 (Fed. Cir. 2004)). The Court examines a patent’s intrinsic evidence to define

the patented invention’s scope.     Id. at 1313-1314; Bell Atl. Network Servs., Inc. v. Covad

Commc’ns Group, Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). Intrinsic evidence includes

the claims, the rest of the specification and the prosecution history.       Phillips, 415 F.3d at

1312-13; Bell Atl. Network Servs., 262 F.3d at 1267. The Court gives claim terms their

ordinary and customary meaning as understood by one of ordinary skill in the art at the time of

the invention. Phillips, 415 F.3d at 1312-13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361,

1368 (Fed. Cir. 2003). Claim language guides the Court’s construction of claim terms.

Phillips, 415 F.3d at 1314. “[T]he context in which a term is used in the asserted claim can be

highly instructive.” Id.    Other claims, asserted and unasserted, can provide additional

instruction because “terms are normally used consistently throughout the patent.”                Id.

Differences among claims, such as additional limitations in dependent claims, can provide

further guidance. Id.

       “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id.

(quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995)). “[T]he

specification ‘is always highly relevant to the claim construction analysis.         Usually, it is

dispositive; it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics

Corp.v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex. Inc. v. Ficosa N.

Am. Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). In the specification, a patentee may define his

own terms, give a claim term a different meaning than it would otherwise possess, or



                                                 4
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 5 of 17 PageID #: 2135




disclaim or disavow some claim scope.         Phillips, 415 F.3d at 1316.    Although the Court

generally presumes terms possess their ordinary meaning, this presumption can be overcome

by statements of clear disclaimer.    See SciMed Life Sys., Inc. v. Advanced Cardiovascular

Sys., Inc., 242 F.3d 1337, 1343-44 (Fed. Cir. 2001). This presumption does not arise when

the patentee acts as his own lexicographer.         See Irdeto Access, Inc. v. EchoStar Satellite

Corp., 383 F.3d 1295, 1301 (Fed. Cir. 2004).

       The specification may also resolve ambiguous claim terms “where the ordinary and

accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of

the claim to be ascertained from the words alone.” Teleflex, Inc., 299 F.3d at 1325. For

example, “[a] claim interpretation that excludes a preferred embodiment from the scope of the

claim ‘is rarely, if ever, correct.” Globetrotter Software, Inc. v. Elam Computer Group Inc., 362

F.3d 1367, 1381 (Fed. Cir. 2004) (quoting Vitronics Corp., 90 F.3d at 1583). But, “[a]lthough

the specification may aid the court in interpreting the meaning of disputed language in the

claims, particular embodiments and examples appearing in the specification will not generally be

read into the claims.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir.

1988); see also Phillips, 415 F.3d at 1323.

       The prosecution history is another tool to supply the proper context for claim

construction because a patentee may define a term during prosecution of the patent. Home

Diagnostics Inc. v. LifeScan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the

specification, a patent applicant may define a term in prosecuting a patent.”).        The well-

established doctrine of prosecution disclaimer “preclud[es] patentees from recapturing through

claim interpretation specific meanings disclaimed during prosecution.” Omega Eng’g Inc. v.

Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). The prosecution history must show that the

patentee clearly and unambiguously disclaimed or disavowed the proposed interpretation during



                                                5
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 6 of 17 PageID #: 2136




prosecution to obtain claim allowance. Middleton Inc. v. 3M Co., 311 F.3d 1384, 1388 (Fed. Cir.

2002); see also Springs Window Fashions LP v. Novo Indus., L.P., 323 F.3d 989, 994 (Fed. Cir.

2003) (“The disclaimer . . . must be effected with ‘reasonable clarity and deliberateness.’”)

(citations omitted)). “Indeed, by distinguishing the claimed invention over the prior art, an

applicant is indicating what the claims do not cover.” Spectrum Int’l v. Sterilite Corp., 164 F.3d

1372, 1378-79 (Fed. Cir. 1988) (quotation omitted).            “As a basic principle of claim

interpretation, prosecution disclaimer promotes the public notice function of the intrinsic

evidence and protects the public’s reliance on definitive statements made during prosecution.”

Omega Eng’g, Inc., 334 F.3d at 1324.

       Although “less significant than the intrinsic record in determining the legally operative

meaning of claim language,” the Court may rely on extrinsic evidence to “shed useful light on

the relevant art.” Phillips, 415 F.3d at 1317 (quotation omitted). Technical dictionaries and

treatises may help the Court understand the underlying technology and the manner in which one

skilled in the art might use claim terms, but such sources may also provide overly broad

definitions or may not be indicative of how terms are used in the patent. Id. at 1318. Similarly,

expert testimony may aid the Court in determining the particular meaning of a term in the

pertinent field, but “conclusory, unsupported assertions by experts as to the definition of a claim

term are not useful.” Id. Generally, extrinsic evidence is “less reliable than the patent and its

prosecution history in determining how to read claim terms.” Id.




                                                6
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 7 of 17 PageID #: 2137



                                         DISCUSSION

I.      “distinguishing information about the piece of Ethernet terminal equipment” and
“to distinguish the piece of terminal equipment”
       As discussed above, the Court construed these terms in its Early Claim Construction

Opinion. Doc. No. 92. Defendants’ renewed summary judgment arguments (Doc. No. 87) will

be addressed in a separate Opinion.

II.     “impedance” (claims 31, 35, 50, 67, 73, 77, and 72)
        Plaintiffs’ Proposal                     Defendants’ Proposal
Plain and ordinary meaning. No construction      “the resistance to the flow of alternating
necessary.                                       current in a circuit”

                                                    Alternatively:
                                                        “the opposition to the flow of alternating
                                                    current”

PLS.’ BR. at 6; RESP. at 3.

       A.      The Parties’ Contentions

       Plaintiffs argue this term requires no construction because the intrinsic evidence allows

the impedance to operate as opposition to the flow of current, whether that current is AC or DC.

PLS.’ BR. at 7. In support, Plaintiffs’ and their expert, Les Baxter, proffer that impedance

consists of resistance plus reactance that applies in both AC and DC circuits. Doc. No. 83-2, Ex.

B ¶ 23, Decl. of Les Baxter (“Baxter Decl.”). Id. When calculating impedance in DC circuits,

the reactance is zero and therefore impedance equals the resistance alone. Id. Plaintiff further

points to several portions of the ‘012 Patent specification that reference DC current as well as

several extrinsic dictionary definitions and Alcatel-Lucent’s own patent. Id. ¶ 24; PLS.’ BR. at 9.
        Defendants, on the other hand, argue that the intrinsic evidence points to use of an AC

circuit through the disclosure of a transformer in the specification because “a transformer only

permits AC signal to propagate.” RESP. at 6-9. Defendants additionally point to the IEEE

Dictionary as extrinsic evidence that impedance in the ‘012 Patent refers to an AC circuit. Id. at

5. During the October 30, 2014 hearing, Defendant proposed that the term “impedance” applies

                                                7
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 8 of 17 PageID #: 2138



only to current that has a frequency component, and suggested “the opposition to the flow of

current, wherein the current has a frequency component” as a second alternative construction.

       B.        Claim Construction Analysis

       Importantly, independent claim 67 refers to impedance without reference to AC or DC as

recited below:

       67. A method for adapting a piece of terminal equipment, the piece of terminal
       equipment having an Ethernet connector, the method comprising:
              coupling at least one path across specific contacts of the Ethernet
                     connector, the at least one path permits use of the specific contacts
                     for Ethernet communication, the Ethernet connector comprising
                     the contact 1 through the contact 8, the specific contacts of the
                     Ethernet connector comprising at least one of the contacts of the
                     Ethernet connector and at least another one of the contacts of the
                     Ethernet connector; and
              arranging impedance within the at least one path to distinguish the piece of
                     terminal equipment.
’012 Patent, claim 67. Plaintiffs cite dependent claims 76, 82, 85, and 86 for the proposition that

impedance opposes the flow of current, whether AC or DC. PLS.’ BR. at 8. These dependent

claims recite as follows:

       76. The method according to claim 67 wherein the arranging impedance within
       the at least one path comprises arranging the impedance within the at least one
       path to draw DC current.

       82. The method according to claim 67 wherein the arranging impedance within
       the at least one path comprises arranging impedance within the at least one path to
       have a first impedance for a first condition applied to the specific contacts
       followed by a second impedance for a second condition applied to the specific
       contacts.

       85. The method according to claim 82 wherein the first and second conditions
       applied to the specific contacts are current conditions.

       86. The method according to claim 85 wherein the current conditions are DC
       current conditions.




                                                8
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 9 of 17 PageID #: 2139




’012 Patent, claims 76, 82, 85 and 86. Because these dependent claims, particularly claim 86,

specifically require DC while the independent claims do not, claim differentiation applies.

“[T]he presence of a dependent claim that adds a particular limitation gives rise to a presumption

that the limitation in question [DC only] is not present in the independent claim.” Phillips, 415

F.3d at 1315. “It is axiomatic that a dependent claim cannot be broader than the claim from

which it depends . . . A dependent claim narrows the claim from which it depends.” Alcon

Research, Ltd. v. Apotex Inc., 687 F.3d 1362, 1367 (Fed. Cir. 2012) (citing 35 U.S.C. § 112 ¶ 4);

Enzo Biochem, Inc. v. Applera Corp., 599 F.3d 1325, 1334 (Fed. Cir. 2010) (“A person of

ordinary skill would presume that a structure recited in a dependent claim will perform a

function required of that structure in an independent claim.”) Here, if the impedance referred to

in independent claim 67 applied only to AC, the DC limitation recited in these dependent claims

would be inconsistent with the claim from which they depend. The reference to DC in the

dependent claims therefore weighs against limiting “impedance” to AC in the independent claim

because this would result in a dependent claim broadening the independent claim from which it

depends.

       Additionally, claim differentiation weighs against Defendants contention that disclosures

relating to transformers restrict impedance to AC. Claims 53 and 97, which depend from

independent claims 31 and 67, recite as follows:


       53. The piece of Ethernet data terminal equipment according to claim 31 wherein
       the at least one path includes the center tap of at least one isolation transformer.

       97. The method according to claim 67 wherein the at least one path includes the
       center tap of at least one isolation transformer.


‘012 Patent, claims 53 and 97. Here, because claims 53 and 97 depend from independent claims

31 and 67, these dependent claims cannot broaden the independent claims to require such a


                                                   9
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 10 of 17 PageID #: 2140




 transformer in every embodiment. N. Am. Vaccine, Inc. v. Am. Cyanamid Co., 7 F.3d 1571,

 1577 (Fed. Cir. 1993) (“The dependent claim tail cannot wag the independent claim dog.”) In

 fact, one embodiment replaces the isolation transformer with an interface amplifier. ‘012 Patent

 at 10:33-35 (“The fourth embodiment differs from the earlier described embodiments by

 employing an interface amplifier for the signal receiver 6c in place of an isolation

 transformer…”). Thus, Defendants’ arguments regarding the use of transformers equating to an

 AC requirement is unpersuasive.

        Turning to the specification, the term “impedance” appears in the ‘012 Patent as follows:

        Although the encoded signal in the present embodiment transmits the encoded
        signal from the remote module 16a, it is within the scope of the invention to
        source current from the central module and alter the flow of current from within
        the remote module 16a by changing the impedance of a circuit connected across
        the data communication link 2A. Examples of such circuits include an RC
        network connected directly to the data link 2A and reflecting an impedance
        change across an isolation transformer.

 ‘012 Patent at 8:49-57.

        The current splits between the windings with the reflected primary impedance
        controlling the magnitude of the current that flows in each winding. The primary
        impedance is controlled by processor 122, the exclusive OR gates 120 and 121,
        and the two 10 k resistors 126 and 127.

 ‘012 Patent at 9:65-10:3.

        The signal receiver 230 provides a balanced impedance on the serial bus for
        receiving the serial stream from the sender tag 202.

 ‘012 Patent at 14:62-64 (emphasis added).

        None of the above references to impedance mention AC or DC. Rather than specifying

 AC or DC, they all refer to “current” generically. Thus, one of skill in the art would not limit

 impedance to AC as Defendants contend.




                                                10
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 11 of 17 PageID #: 2141



            Limiting impedance to AC also lacks support in the extrinsic evidence submitted by the

 parties. While Defendants cite The Authoritative Dictionary of IEEE Standards Terms 535 (7th

 ed. 2000) defining “impedance” in the context of “broadband local area networks” as meaning

 “[a] measure of the complex resistive and reactive attributes of a component in an alternating-

 current circuit” (RESP. at 5), Plaintiff’s expert defines impedance with a formula where

 impedance consists of resistance plus reactance, or Z=R+jX. PLS.’ BR. at 7 (citing Baxter Decl. ¶

 23). In DC circuits, the reactance is zero and therefore impedance equals the resistance alone.

 Id. Plaintiffs additionally rely on the Oxford Concise Scientific Dictionary to define impedance

 as “[t]he quantity that measures the opposition of a circuit to the passage of a current” 3 and cite

 an Alcatel-Lucent patent for the proposition that “[w]hen DC power systems are first activated,

 high levels of transient current may be generated as a result of capacitor impedance.” PLS.’ BR.

 at 9 (citing U.S. Patent No. 7,821,753 at 1:53-55, Ex. E). Thus, impedance fits within the DC

 context in the extrinsic evidence since reactance can be zero.

            “Claim terms are generally given their plain and ordinary meanings to one of skill in the

 art when read in the context of the specification and prosecution history.” Hill-Rom Servs., Inc.

 v. Stryker Corp., 755 F.3d 1367, 1371 (Fed. Cir. 2014) (citing Phillips, 415 F.3d at 1313). “There

 are only two exceptions to this general rule: 1) when a patentee sets out a definition and acts as

 his own lexicographer, or 2) when the patentee disavows the full scope of the claim term either

 in the specification or during prosecution.” Id. (citing Thorner v. Sony Computer Entm't Am.

 LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012)).

            There is no such disclaimer or lexicography here. Nothing in the claims, specification or

 prosecution history discloses that impedance is limited to AC.                        Plaintiff proposes that the

 ordinary meaning of impedance “allows the impedance to be for opposition to the flow of
 3
     PLS.’ BR. at 9 (citing Oxford Concise Scientific Dictionary 362-63 (3d ed. 1996), Ex. F).

                                                             11
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 12 of 17 PageID #: 2142



 current, whether AC or DC current, in a path.” PLS.’ BR. at 7. Defendants propose impedance

 be construed as “the resistance to the flow of alternating current in a circuit” or alternatively,

 “the opposition to the flow of alternating current.” RESP. at 3. Hence the parties essentially

 agree that impedance is opposition to the flow of current, but disagree whether that current is

 limited to AC. As discussed above, nothing in the intrinsic or extrinsic evidence shows that

 impedance in the ‘012 Patent is limited to AC. Therefore, the Court rejects Defendants’ proposal

 and construes “impedance” to mean “opposition to the flow of current.”


 III.      “terminal equipment” and “Ethernet data terminal equipment”


                                   “terminal equipment”
 Plaintiffs’ Proposal                          Defendants’ Proposal
 Plain and ordinary meaning. No construction   “device at which data transmission originates
 necessary.                                    or terminates”

                               “Ethernet data terminal equipment”
 Plaintiffs’ Proposal                            Defendants’ Proposal
 Plain and ordinary meaning. No construction     “device at which data transmission originates
 necessary.                                      or terminates and that is capable of Ethernet
                                                 communication”
 Alternatively:
     “Ethernet terminal equipment that is
 capable of transmitting or receiving data”

 PLS.’ BR. at 13; RESP. at 17; REPLY at 7. The “terminal equipment” term appears in claims 67,

 72, and 106 and “Ethernet data terminal equipment” appears in claims 31, 35, 42, 43, 49, 50, and

 55. Id.

           Plaintiffs argue that “[t]hese terms mean just what they say, are readily comprehensible,

 and do not require construction.” PLS.’ BR. at 14. Defendants submit technical dictionary

 definitions of “data terminal equipment” as meaning: “Device at which data transmission

 originates or terminates.      May be a keyboard/display terminal, a printer, a computer, a

 communication controller, or any similar device.” RESP., Ex. 2, McGraw-Hill Data


                                                  12
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 13 of 17 PageID #: 2143




 Communications Dictionary 24 (1993). Additionally, Defendants reference “[t]he equipment

 comprising the data source, the data sink, or both.” Id., Ex. 3, IEEE Standard Dictionary of

 Electrical and Electronics Terms 226 (3rd. ed. 1984) (defining “data source” and “data sink”).

 Finally, Defendants refer to “[a] circuit, such as a terminal, that acts as a data source, a data sink,

 or both.” Id., Ex. 4, McGraw-Hill Electronics Dictionary 110 (6th ed. 1997) (defining “data

 source”).

        The Court finds Defendants have adequately demonstrated that the constituent term

 “terminal” distinguishes the disputed terms from intermediate network elements. Furthermore,

 Plaintiffs essentially agree that “terminal equipment” is capable of being the beginning or end of

 data transmission over a network. REPLY at 7. Therefore, the Court construes these terms as

 follows:
                   Term                                                  Construction
 “terminal equipment”                                   “device at which data transmission can
                                                        originate or terminate”
 (Claims 67, 72 & 106)
 “Ethernet data terminal equipment”                     “device at which data transmission can
                                                        originate or terminate and that is capable of
 (Claims 31, 35, 42, 43, 49, 50 & 55)                   Ethernet communication”

 IV.   “a method for adapting a piece of terminal equipment” and “an adapted piece of
 Ethernet data terminal equipment”

 Plaintiffs’ Proposal                                   Defendants’ Proposal
 These preambles are not limiting and have              These preambles are limiting and have their
 their plain and ordinary meaning.                      plain and ordinary meaning.

                                                        Defendants propose that “terminal equipment”
                                                        and “Ethernet data terminal equipment,” as
                                                        used in these phrases have the same meanings
                                                        as in their individually proposed constructions.
 PLS.’ BR. at 17; RESP. at 21.

        A.      The Parties’ Contentions

        Plaintiffs argue that the preambles are not limiting because “if the preambles were

 deleted, the body of claim 31 would still describe an adapted piece of Ethernet data terminal

                                                   13
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 14 of 17 PageID #: 2144



 equipment, and the body of claim 67 would still recite steps for a method for adapting a piece of

 terminal equipment.” PLS.’ BR. at 18.

        Defendants respond that “as set forth throughout the patent specification, the inventors

 address the Total Cost of Ownership (TCO) problem by taking existing network assets that are

 otherwise indistinguishable and adapting those assets to make them distinguishable from each

 other.” RESP. at 21 (citing ’012 Patent at 4:41-47). Defendants conclude that Plaintiffs’ position

 is “an improper attempt to read out the ‘adapting’ requirement and would undermine the entire

 purpose of the invention and shift away from the particular problem the inventors were seeking

 to address.” Id. at 22 (citing ‘012 Patent at 1:23-3:14). Further, Defendants argue “the ’012

 Patent is the only one of its family to focus the issued claims on ‘adapting.’” Id. at 23.

        B.      Claim Construction Analysis

        Generally, “a preamble limits the invention if it recites essential structure or steps, or if it

 is ‘necessary to give life, meaning, and vitality’ to the claim.” Catalina Mktg. Int'l, Inc. v.

 Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002) (quoting Pitney Bowes, Inc. v.

 Hewlett–Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1999). “[D]ependence on a particular

 disputed preamble phrase for antecedent basis may limit claim scope because it indicates a

 reliance on both the preamble and claim body to define the claimed invention. Likewise, when

 the preamble is essential to understand limitations or terms in the claim body, the preamble limits

 claim scope.” Id. (citations omitted). The issue of preamble language acting as a limitation is

 determined on a case-by-case basis in light of “the overall form of the claim, and the invention as

 described in the specification and illuminated in the prosecution history.” Allen Eng’g Corp. v.

 Bartell Indus. Inc., 299 F.3d 1336 (Fed. Cir. 2002).




                                                  14
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 15 of 17 PageID #: 2145



        Here, both the Abstract and the Summary of the Invention use the word “adapted” as

 follows:

        This invention is particularly adapted to be used with an existing Ethernet
        communications link or equivalents thereof.

 ‘012 Patent at 3:35-37 (emphasis added). The specification further discloses:

        The communication system 15 and 16 described herein is particularly adapted to
        be easily implemented in conjunction with an existing computer network 17 while
        realizing minimal interference to the computer network.

 Id. at 4:56-60 (emphasis added).

        As enumerated above, claims 31 and 67 recite:

        31. An adapted piece of Ethernet data terminal equipment comprising:
                 an Ethernet connector comprising a plurality of contacts; and
                 at least one path coupled across selected contacts, the selected contacts
        comprising at least one of the plurality of contacts of the Ethernet connector and
        at least another one of the plurality of contacts of the Ethernet connector,
                 wherein distinguishing information about the piece of Ethernet data
        terminal equipment is associated to impedance within the at least one path.

 ‘012 Patent, claim 31 (emphasis added).

        67. A method for adapting a piece of terminal equipment, the piece of terminal
        equipment having an Ethernet connector, the method comprising:
                coupling at least one path across specific contacts of the Ethernet
        connector, the at least one path permits use of the specific contacts for Ethernet
        communication, the Ethernet connector comprising the contact 1 through the
        contact 8, the specific contacts of the Ethernet connector comprising at least one
        of the contacts of the Ethernet connector and at least another one of the contacts
        of the Ethernet connector; and
                arranging impedance within the at least one path to distinguish the piece of
        terminal equipment.

 ‘012 Patent, claim 67 (emphasis added). The claim body in both claims refers back to the

 preamble which indicates a limitation based on an antecedent basis. Preamble language that

 describes an antecedent in greater detail can be limiting.         Proveris Scientific Corp. v.



                                                15
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 16 of 17 PageID #: 2146



 Innovasystems, Inc., 739 F.3d 1367, 1373 (Fed. Cir. 2014) (“The phrase ‘the image data’ clearly

 derives antecedent basis from the ‘image data’ that is defined in greater detail in the preamble as

 being ‘representative of at least one sequential set of images of a spray plume.’”) (emphasis

 added). Here, in claim 31, “the piece of Ethernet data terminal equipment” refers back to the

 “adapted piece of Ethernet data terminal equipment” in the preamble while “the piece of terminal

 equipment” in claim 67 refers back to the method for “adapting a piece of terminal equipment.”

 See id.; see also Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d 1332, 1339 (Fed. Cir. 2003)

 (“When limitations in the body of the claim rely upon and derive antecedent basis from the

 preamble, then the preamble may act as a necessary component of the claimed invention.”); Bell

 Commc’ns Research, Inc. v. Vitalink Commc’ns Corp., 55 F.3d 615, 621 (Fed. Cir. 1995)

 (“[t]hese two steps of the claimed method, by referring to ‘said packet,’ expressly incorporate by

 reference the preamble phrase ‘said packet including a source address and a destination

 address.’”)

        As an additional example of reliance on the preambles for antecedent basis, Defendants

 cite claim 98 of the ‘012 Patent, which recites:

        98. The method according to claim 67 further comprising physically connecting
        the adapted piece of terminal equipment to a network.

 ‘012 Patent, claim 98 (emphasis added).

        It appears that “adapting a piece of terminal equipment” in the preamble of claim 67

 provides antecedent basis for “the adapted piece of terminal equipment” in claim 98. Cf. Ex

 Parte Porter, 25 U.S.P.Q. 2d 1144, 1145 (B.P.A.I. 1992) (“The term ‘the controlled fluid’ . . .

 finds reasonable antecedent basis in the previously recited ‘controlled stream of fluid’ . . . .”).

 More importantly, a read of the ‘012 Patent reveals that every claim in the ‘012 Patent either has

 “adapting” or “adapted” in the preamble, or depends from such a claim. See generally ‘012


                                                    16
Case 6:13-cv-00881-JDL Document 105 Filed 01/08/15 Page 17 of 17 PageID #: 2147



 Patent claims. Further, as noted by Defendants, the ‘012 Patent places emphasis on “adapting”

 in the issued claims as compared to the patents within the same family.          The “adapting”

 requirement in the claims of the ‘012 Patent is essential to address the problem confronted by the

 inventors taking existing networks and adapting them to make equipment distinguishable. Thus,

 the word “adapting” must have some meaning.

        Also noteworthy, Plaintiffs agreed during the October 30, 2014 Claim Construction

 hearing that the preambles be construed as limiting and given their plain and ordinary meaning

 for the purpose of compromise. While the parties dispute the meaning of the term “adapt,” it

 appears indisputable that the preambles are limiting.       The Court therefore finds that the

                   . 31 and 67 are limiting.
 preambles of claims

                                          CONCLUSION

        For the foregoing reasons, the Court adopts the constructions set forth above.


                  So ORDERED and SIGNED this 7th day of January, 2015.




                                                 ___________________________________
                                                            JOHN D. LOVE
                                                 UNITED STATES MAGISTRATE JUDGE




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